                         United States District Court
                       Western District of North Carolina
                              Charlotte Division

     Reginald William Lindsey,        )              JUDGMENT IN CASE
                                      )
            Petitioner(s),            )               3:17-cv-00233-FDW
                                      )               3:14-cr-00073-FDW
                 vs.                  )
                                      )
               USA,                   )
           Respondent(s).             )

 DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s March 27, 2018 Order.

                                               March 27, 2018




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